Case 3:14-cv-00852-REP-AWA-BMK Document 280 Filed 10/23/18 Page 1 of 4 PageID# 10071
                                                                                                             r~\
                                                                                       0       P.      is    in-

                          IN THE UNITED STATES DISTRICT COURT                          ocr 23 2018            u■   !


                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division                          CLERK, U.S. ; : s ii-.iCT COURT
                                                                                           RICHCC'^O, VA




    GOLDEN BETHUNE-HILL,
    et al.,

           Plaintiffs,

                                                         Civil Action No.       3:14cv852


    VIRGINIA      STATE    BOARD
    OF ELECTIONS,         et al.,

           Defendants.




                                               ORDER


           Having        conferred     with        the    Special      Master      about         his

    appointment and about the schedule set out in the ORDER                             {ECF No.

    278)   entered on October 19,             2018,      and finding it appropriate so

    to do,    it is hereby ORDERED that:

            (1)    The    hearing     set    for    January    3,     2019   (ECF     No.       278,

    11(5)) is rescheduled to 9:30 a.m. January 10, 2019; and

            (2)    Given    the     number   of    districts        involved,    the       Special

    Master is authorized to employ the services of Jonathan Cervas,

    Dr.    Grofman's assistant at the University of California-Irvine,

    at the rate of $75.00 per hour; and

            (3)    The    Special Master's          Report    and Recommendation              shall

    contain:
Case 3:14-cv-00852-REP-AWA-BMK Document 280 Filed 10/23/18 Page 2 of 4 PageID# 10072




                (a)     a color map showing the proposed remedial plans;

                (b)     Shapefiles and Block Equivalency Files compatable

                        with Mapitude For Redistricting sofeware for the

                        proposed remedial plan; and

                (c)     analysis explaining the basis for the proposed

                        remedial    plan   and    the    recommendations          of    that

                        plan over any of the other proposals previously

                        submitted by parties and non-parties;

          (4)   Upon     request    from   the    Special      Master,     the    parties

    shall promptly make available to the Special Master electronic

    copies of     the    trial exhibits and trial transcript.                      Such a

    request     shall    be   communicated       by    way    of   an    email    message

    addressed to counsel of record for plaintiffs, the Commonwealth

    of Virginia, and the Intervenor-Defendants; and

          (5)    The Virginia Division of Legislative Services ("DLS")

    shall   promptly      respond    to    the   best    of    its      ability    to    any

    reasonable request by the Special Master for supporting data or

    information reasonably necessary to carry out his assignment;

    and


          (6)    The     Special      Master          shall    file        his     Report

    electronically on the Court's CM/ECF system.                   The Shapefiles and

    Block Equivalency Files shall be delivered electronically to the
Case 3:14-cv-00852-REP-AWA-BMK Document 280 Filed 10/23/18 Page 3 of 4 PageID# 10073



    P^-^ties via FTP, Dropbox, or an equivalent method ensuring
    timely delivery.        The DLS shall promptly post the Special

    Master's     Report    and    supporting     electronic     files   to    its

    redistricting     website     (http://redistricting.dls.virginia.gov/);
    and


          (7)    Parties and non-parties may not engage in any ex parts

    communication with the Special Master regarding the subject
    matter of this litigation.            The Special Master may communicate

    ex parts with the Court, provided that he promptly advises the

    parties that the communication has occurred and discloses any
    material guidance that he has received;

          (8)    The Special Master will be compensated in the amount

    of $400.00 per hour for his time and will be reimbursed for

    reasonable expenses.        He is also authorized to employ assistants

    (and to apply to the Court for approval of their reasonable

    compensation) as necessary to carry out his duties under this

    appointment.     The Special Master shall submit any motion for

    reimbursement of fees and expenses through the Court's CM/ECF

    system.     Upon the disposition of the motion by the Court, and in

    accordance     with   ORDER    (ECF    No.   276),   the   Commonwealth   of

    Virginia shall be responsible to pay the fees of the Special
    Master except as the Court may otherwise direct; and
Case 3:14-cv-00852-REP-AWA-BMK Document 280 Filed 10/23/18 Page 4 of 4 PageID# 10074



          (9)   The parties may seek to modify this ORDER for good
    cause shown.


          The Clerk is directed to send a copy of this Order to the

    Special Master.

          It is SO ORDERED.



                                                    /s/          die
                                      For the Court
                                      Robert E. Payne
                                      Senior United States District Judge


    Richmond, Virginia
    Date: October 23, 2018
